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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
UNITED STATES OF AMERICA                                 :
                                                         :
       -against-                                         :
                                                         :    MEMORANDUM OF LAW
CHRISTOPHER GUNN,                                        :
                                                         :          22-CR-314
                Defendant.                               :
---------------------------------------------------------X


                            Memorandum of Law In Support of
                                  Motion to Dismiss




                                                        Allegra Glashausser
                                                          Attorney for Mr. Christopher Gunn
                                                        Federal Defenders of New York
                                                        1 Pierrepont Plaza, 16th Floor
                                                        Brooklyn, N.Y. 11201
                                                        (212) 417-8739
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Introduction 1

        Christopher Gunn is a 40-year-old father who lives in Illinois with his partner

and their two young children, ages 9 and 6. In 2021, he was part of a community of

people who disagreed with the handling of the R. Kelly prosecution. To make their

voices heard, they demonstrated at protests in New York and Chicago, and posted

videos on-line presenting their opinions about the R. Kelly case. Mr. Gunn became

focused on why the prosecutors were not investigating the parents of the minor

children victimized by R. Kelly, reasoning that, if R. Kelly was guilty, the parents had

been complicit in the abuse. He posted hours of content about the R. Kelly cases.

These videos include times of intense, animated dialogues with other members of the

community and Mr. Gunn’s thoughts on news clips about the R. Kelly case, as well as

long pauses and full-length R. Kelly R&B ballads.

        Mr. Gunn’s federal prosecution, however, relates to an approximately 5-minute

clip of a YouTube video posted in October 2021, in which he said he would “storm”

the offices of the three E.D.N.Y. prosecutors in R. Kelly’s case. This comment was



1
  For purposes of this motion, all facts as stated in the indictment and complainant are deemed to be
true, and are viewed in the light most favorable to the prosecution. Thus, for purposes of this
motion, and without waiving the right to put the government to its proof in the event this motion is
denied, the communications are referred to as being made by Mr. Gun in October 2021.
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not a true threat and it was not an incitement to violence. Instead, it was protected

First Amendment speech.

       Moreover, the original clip was actually taken from a much longer, full-day long

YouTube posting. The full video, in particular the approximately 30-minutes after the

originally-charged clip, provides crucial context for the shorter clip, making it

abundantly clear that – however inartful Mr. Gunn’s comments about the three R.

Kelly prosecutors were – his intent was to get his viewers excited about protesting the

R. Kelly case by picketing in front of the prosecutors’ offices, calling their offices to

voice complaints and ask questions, and gathering signatures for a petition – not to

incite anyone to violence or threaten anyone with physical harm.

       In context, Mr. Gunn’s comments about the E.D.N.Y. prosecutors related to

protesting the R. Kelly trial and the tactics taken by the U.S. Attorney’s Office. In

context, his comments were not threats but protected First Amendment speech. In

context, he did not have any intent to threaten the prosecutors. Also, Mr. Gunn’s

actions support that the video was not a true threat: he was not arrested for nine

months after the video was posted. In that time, he took no action indicating he was

carrying out a threat. When he was arrested, his house was searched; no guns were

found. In an interrogation right after his arrest, he was genuinely confused that




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officials thought he had threatened them.2 He did nothing to try to physically “storm”

any offices in New York, which were about 800 miles away from his home.

          Because Mr. Gunn’s speech was protected by the First Amendment, this Court

should dismiss the indictment against him. Alternatively, this Court should dismiss the

indictment because the facts fail to meet the elements of Section 875(c) as a matter of

law.

Factual Background

          Far from being threatening, the 5-minute video clip referenced in the complaint
          is slow-moving and full of lengthy pauses.

           Watching the 5-minute clip that underlies the charges, it is difficult to imagine

    it scaring someone. Mr. Gunn’s words are not accompanied by video; it is simply

    audio and pictures, with long pauses of silence. To be blunt: watching this clip is a bit

    boring. Before the charged clip, an R. Kelly slow-jam plays. Shortly afterward, Mr.

    Gunn said:

           “I want you all to get real familiar with this building I’m about to
           pull up and show to you. This is where we’re going to be going.”
           6:47. 3 [Pause]. “Hold on.” 6:52. [Pause].

           “I want to show you all…Uhhhh…I’m going to show you all
           exactly where we’re going to be going. We’re going to get real

2
  Mr. Gunn has been extremely consistent in explaining that he had been protesting the R. Kelly
trial, saying in his interrogation, I would “pull up a building where we would protest.” Interrogation
around minute 48. He elaborated that he believed that the E.D.N.Y. prosecutors should have
charged the parents of the R. Kelly victims with crimes as well. Interrogation around 1:37 (“I
remember saying where the building was located and people need to call and ask why they aren’t
locking up the parents if they are taking advantage of little kids.”).
3
    Any errors in quotations here are unintentional; time stamps are approximate.
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       familiar with this building and the enterprise, otherwise known as
       the KSteppas. I don’t really care if people steal my ideas at this
       point. Uhhh.” 7:19.

       “We know who is going to, uh, stick to everything that I told you,
       with his if Kells goes down, everybody going down…where is
       this….” 7:41 [15+ second Pause].

       “Uugh.” 8:00. “Okay here we go.” [Pause].

       “Okay, hold on, here we go.” 8:15. [Pause].

       “Why would the judge in New York permit that girl to be in court
       with that liar liar. Why would the judge permit that girl to be a
       witness [ ] surviving R. Kelly.” 8:32.

       He then posted a picture of the Eastern District U.S. Attorney’s

Office; the picture is the top result in a google search for the Eastern District

U.S. Attorney’s Office. He continued: “You see this building right here ?”

8:47 [Pause].

       “That building is located right outside of the courthouse where R.
       Kelly was being prosecuted at. The first building on the corner.
       That is the United. States. Federal prosecutor office. That’s where
       they at. That’s where they work at.” 9:13. [Pause]

       “That’s where they work at. We’re going to storm they office. We’re
       gonna storm they office. We’re going to storm, uh, Nadia Shihata,
       Ms. Geddes, uh, and Ms. Cruz. We’re going to storm their office.
       You get what I’m saying? You all ain’t got the stomach for this shit?
       This would be a good time now to bail out. You don’t want to take
       this ride, then bail out. You understand what is about to go on.”
       10:07. [Pause].

       “Now if you ain’t go the stomach for this shit we’re about to do,
       I’m asking you to bail out.” 10:38.


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           Mr. Gunn then played a clip from Boyz in the Hood4, in which four people

    are in a car, one driving, another who has a gun, a third who has a pacifier in his

    mouth, and a fourth person who asks to be “let out.” The car stops, one person is let

    out, and the clip ends with him walking on the street. This section of the video

    available at https://tinyurl.com/2p873d9a.

           Directly after the charged clip, Mr. Gunn discusses protesting, making it clear
           that his repeated phrase, “you don’t got the stomach for this,” refers to having
           the stomach to protest.

           After the Boyz in the Hood clip, Mr. Gunn repeats: “if you ain’t got the

    stomach for what’s about to go down, bail the fuck out,” adding, “nobody’s forcing

    you. A lot of our protests in the future will be held right outside of the United States

    Attorney’s Eastern District of New York’s office.” He repeats, “If you don’t got the

    stomach for this bail out. Everybody that can’t make it to the protests in the future, I

    would like you to call this number.” 12:39. Given this context, it is clear that the

    “this,” in the phrase “you don’t got the stomach for this,” is a reference to protesting

    at the U.S. Attorney’s Office. Clip of this section of the video available at,

    https://tinyurl.com/2tty96hu.

         Mr. Gunn next advises that people who can’t protest should call the U.S.
         Attorney’s Office to voice their complaints.

         As Mr. Gunn continues speaking, his goal of protesting how the prosecutors



4
 Boyz in the Hood was a popular and critically acclaimed movie from Mr. Gunn’s youth, which
earned Oscar nominations for best director and best original screenplay and three NAACP Image
Award nominations.
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are handling the R. Kelly case, and specifically their decision not to prosecute the

parents of the witnesses, becomes even clearer. He says that anyone who can’t come

to the protest could instead call the U.S. Attorney’s Office. He posts the main number

for the office, which is publicly available, and appears in the highlighted result from a

google search for the Eastern District of New York U.S. Attorney’s Office, (718) 254-

7000. He advises that people should call and “inform them that you read transcripts

or watched the trial of R. Kelly and [that parents] also encouraged their daughter and

gave consent to their daughter’s relationship with a grown man…” Clip of this section

of the video available at, https://tinyurl.com/ypyuuy8y. He continues, “Start[ ] by

calling this number right here asking to speak to, let me see, let me make sure I get all

of these names right, make sure I get this right,” 14:06, [pause] “let me get this right.”

Clip of this section of the video available at, https://tinyurl.com/tdxy6y3d. He

continues, “we’re going to be asking to speak to Elizabeth Geddes (there is just one of

them) we will also be asking to speak to Nadia Shihata. Let me drop these names in

the chat.” 14:45 (pause). “See that name right there, Elizabeth Geddes. Call the office

and ask to speak to Elizabeth Geddes and ask her if the Acting United States District

Attorney Of New York why did she not bring charges against these parents if these

allegations against these parents, if these allegations are true.” 15:10. Clip of this

section of the video available at, https://tinyurl.com/4z9ac6fk.




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Mr. Gunn discusses how to get “signatures for a petition.”

       After discussing protesting in person and calling to voice disagreement, Mr.

Gunn then suggested “getting signatures for a petition.” 22:39. He states, “That

petition should be at a thousand. All of our [ ] collectively, hit a thousand at a

minimum. I only see 500 people sign that petition. We need more people to sign that

petition. Okay?”, “We need at least 5000-10,000 signatures. I don’t give a damn. Look,

In the future, at our protests, we’ll have that, uh, petition in real life, real form.

….we’ll ask people that’s walking past to sign that petition. We’re going to do real leg

work, real leg work.” 23:30. Clip of this section of the video available at,

https://tinyurl.com/3r264ep4.

       These themes of protesting in-person, on the phone, and in writing are

repeated throughout the video. See, e.g, 32:44 (“We’re going to stand out in front of

Elizabeth Geddes office and demand that charges be brought against anyone who

claims to be an underage victim of Robert Sylvester Kelly”); 33: 18 (“And anywhere

there will be protests we’ll be asking for signatures and continue to ask people to sign

the petition. You got this stomach for this shit?”); 45:50 (“Call 718 254 7000 and ask

Elizabeth Geddes if we are to believe RSK charges where are the parents? It’s real

simple.”).

       Given these themes, the full video shows that Mr. Gunn had no intent to

threaten the prosecutors.


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                                       Argument

             The charges should be dismissed because Mr. Gunn’s
             speech was protected by the First Amendment.

      The First Amendment prohibits the Government from “abridging the freedom

of speech.” U.S. Const. amend. I. The “hallmark of the protection of free speech is to

allow free trade in ideas” – even ideas that many people don’t like or agree with. See

Virginia v. Black, 538 U.S. 343, 358 (2003). “[I]mposing criminal penalties on protected

speech” is the starkest example “of speech suppression.” Ashcroft v. Free Speech

Coalition, 535 U.S. 234, 244 (2002). Thus, a statute that “makes criminal a form of pure

speech[ ] must be interpreted with the commands of the First Amendment clearly in

mind.” Watts v. United States, 394 U.S. 705, 707 (1969).

      Mr. Gunn’s video shows him engaging in a lengthy exchange of ideas. He

offers his opinions on a high-profile trial of a public figure; viewers comment on his

thoughts; he comments on videos posted by other people and by news outlets. While

his ideas – that the parents of the minor children who testified against R. Kelly should

be prosecuted – are surely outside of the mainstream and others may find them

“distasteful or discomforting,” Black, 538 U.S. at 358, they are protected by the First

Amendment.

      This is especially true as the R. Kelly prosecution, and how it was being

conducted, was unquestionably a matter of “public concern,” about which the First

Amendment protects an especially robust exchange of ideas. See Connick v. Myers, 461

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U.S. 138, 145 (1983) (“[T]he [Supreme] Court has frequently reaffirmed that speech

on public issues occupies the ‘highest rung of the hierarchy of First Amendment

values,’ and is entitled to special protection.”). The trial was highly publicized,

discussed regularly in the news, and by the general public. Matters of public concern

are “at the heart of the First Amendment’s protections,” and reflect “a profound

national commitment to the principle that debate on public issues should be

uninhibited, robust, and wide-open.” Snyder v. Phelps, 562 U.S. 443, 451-52 (2011); see

also id. at 443 (“Although the boundaries of what constitutes speech on matters of

public concern are not well defined, [the Supreme] Court has said that speech is of

public concern when it can be fairly considered as relating to any matter of political,

social, or other concern to the community, or when it is a subject of general interest

and of value and concern to the public.”) (cleaned up).

       Of course, “[t]he protections afforded by the First Amendment [ ] are not

absolute.” Black, 538 U.S. at 358. “The freedom of speech has its limits; it does not

embrace certain categories of speech, including [ ] incitement,” Ashcroft, 535 U.S. at

246, and “true threats.” Watts, 394 U.S. at 708. But speech can only be limited for

incitement if it “is directed to inciting or producing imminent lawless action and is

likely to incite or produce such action,” Brandenburg v. Ohio, 395 U.S. 444, 447 (1969).

And it can only be limited for true threats if the comments “communicate a serious

expression of an intent to commit an act of unlawful violence to a particular

individual or group of individuals.” Black, 538 U.S. at 359.
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       Mr. Gunn’s remarks were neither incitement nor true threats. Mr. Gunn’s

remarks were unlikely to produce imminent lawless action, and did not produce any

lawless action. On the contrary, the government apparently did not become aware of

the charged video clip until nine months after it was posted. Mr. Gunn also did not

state he would injure anyone or communicate a “serious expression of an intent to

commit an act of unlawful violence.” Id. On the contrary, he stated – at the worst – a

vague expression that he would “storm” the prosecutors’ office and then elaborated

that he would do so by protesting at the office, calling the office, and having people

sign petitions. These remarks are protected First Amendment speech.

   A. Only speech “likely” to produce “imminent” lawless action is “incitement,”
      unprotected by the First Amendment.

       Not all speech qualifying as “incitement” – defined by Brandenburg as the

“advocacy of the use of force or of law violation,” 395 U.S. at 447 – falls outside the

First Amendment. Rather, only advocacy “[1] directed to inciting or producing

imminent lawless action and [2] likely to incite or produce such action” is not

protected by the Constitution. Id. (emphases added). The Constitution entitles an

advocate to “stimulate his audience with spontaneous and emotion appeals for unity

and action in a common cause.” NAACP v. Claiborne Hardware Co., 458 U.S. 886, 928

(1982). See also United States v. Rundo, 990 F.3d 709, 717 (9th Cir. 2021) (noting that the

First Amendment even “protects speech tending to ‘encourage’ or ‘promote’ a riot”).




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The Constitution does not, however, protect words that “provoke immediate

violence,” or “create an immediate panic.” Id. at 927.

       Incitement works through persuasion – the speaker’s goal is to convince

listeners to adopt his ideas and act as he directs. So long as “such appeals do not incite

lawless action, they must be regarded as protected speech. To rule otherwise would

ignore the ‘profound national commitment’ that ‘debate on public issues should be

uninhibited, robust, and wide-open.’” NAACP, 458 U.S. at 929 (quoting New York

Times v. Sullivan, 376 U.S. 254, 270 (1964)); see also Myers, 461 U.S. at 145 (1983).

       Mr. Gunn’s remarks meet neither prong: they were not likely to produce

imminent lawless action. Urging people to “storm” the prosecutor’s office with

protests, telephone calls, and petitions was lawful. These comments were not likely to

produce imminent lawless action, and did not produce any lawless action. They

produced no action: not even the government was aware of the video for months.

   B. Only “true treats” are threats outside the protections of the First Amendment

       Threats of “violence are outside the First Amendment.” R.A.V. v. City of St.

Paul, 505 U.S. 377, 388 (1992). But it is not even “enough to show the use of language

that is literally threatening.” United States v. Sovie, 122 F.3d 122, 125 (2d Cir. 1997).

Instead, “the government must show a ‘true threat,’ one that “on its face and in the

circumstances in which it is made is so unequivocal, unconditional, immediate and

specific as to the person threatened, as to convey a gravity of purpose and imminent

prospect of execution.” Id. (citing United States v. Kelner, 534 F.2d 1020, 1027 (2d Cir.
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1976)). Accord Black, 538 U.S. at 359 (First Amendment only “permits a State to ban a

‘true threat.’”).

       If the statement “meets this test, it is no longer protected speech because it is

so intertwined with violent action that it has essentially become conduct rather than

speech.” United States v. Francis, 164 F.3d 120, 123 (2d Cir. 1999). See also United States v.

Turner, 720 F.3d 411, 420 (2d Cir. 2013) (A communication constitutes a true threat if

“an ordinary, reasonable recipient who is familiar with the context of the

[communication] would interpret it as a threat of injury.”) (internal citation omitted).

Laws barring such communications do not violate the Constitution, because they

“protect individuals from the fear of violence and from the disruption that fear

engenders.” Black, 538 U.S. at 360 (cleaned up).

       A “threat,” is “a communicated intent to inflict harm or loss on another.’”

Elonis v. United States, 575 U.S. 723, 733 (2015) (quoting Black’s Law Dictionary 1519).

It does its works by creating fear or arousing anxiety in the target. Black, 538 U.S. at

360 (noting the target’s “fear of violence and [ ] the disruption that fear engenders”

when she learns of the threat); accord United States v. Howell, 719 F.2d 1258, 1260-61

(5th Cir. 1983) (statement is a “threat” because, “[f]ar from attempting to influence

others, Howell was merely stating his own unambiguous and apparently quite serious

intention to take the life of the President”); United States v. White, 670 F.3d 498, 513

(4th Cir. 2012) (statement in which the speaker “call[s] on others to kill” the target is

not a threat, unless the speaker “had some control over those other persons or [the
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speaker’s] violent commands in the past had predictably been carried out”); United

States v. Morales, 272 F.3d 284, 287 (5th Cir. 2001) (describing “threat” as a

communication that “create[s] apprehension that its originator will act according to its

tenor”) (emphasis added).

       In most cases, “the threatening speech was targeted against specific individuals

or was communicated directly to the subject of the threat.” Fogel v. Collins, 531 F.3d

824, 830 (9th Cir. 2008). In other words, “while advocating violence is protected,

threatening a person is not.” Planned Parenthood v. ACLA, 290 F.3d 1058, 1072 (9th

Cir. 2002) (en banc). See e.g., Kelner, 534 F.2d at 1026 (explaining in threat prosecution

that “[h]ere the crime charged is not that appellant was inciting others to assassinate

Arafat but that he himself was threatening to do so”); see also New York v. Operation

Rescue, 273 F.3d 184, 196 (2d Cir. 2001) (criticizing district court’s “willingness to

characterize a broad range of [ ] statements as ‘threats’ without giving them the full

analysis required by the First Amendment” and without ”determining whether a

statement qualifies as a threat”).

       Here, Mr. Gunn simply did not threaten to physically injure the prosecutors.

The lead up to the charged comments is calm, rather than threatening. Before the

charged comments a slow R. Kelly song plays, and Mr. Gunn speaking languidly, with

frequent pauses. Additionally, saying that he would “storm” the prosecutors was too

vague to be a threat, no less a true threat. The verb “storm” is not inherently

threatening. On the contrary, “to storm” has a number of meanings that have nothing
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to do with physical injury. For example, it can mean to move “impetuously” or

“angrily,” as in the “crowd stormed through the streets.” See Merriam-Webster.com,

https://tinyurl.com/4kfunwf6. Or to express a strong or dramatic emotional

response, as in “‘Get out and never come back!’ He stormed.” See Cambridge

Dictionary, https://dictionary. cambridge.org/us/dictionary/english/storm. It can

mean “To rush with the violence of a storm,” or to “complain with rough and violent

language; to rage.” See Oxford English Dictionary Online, https://www.oed.com/

view/Entry/190961?rskey=rEY0I1&result=2&isAdvanced=false#eid. It can also

mean an emotional reaction by a group, e.g., “There was a storm of protest when the

next tax was announced.” See Cambridge Dictionary, https://dictionary.cambridge

.org/us/dictionary/english/storm.

      In context, it was clear that Mr. Gunn wished his listeners to “storm” the

prosecutors’ offices with protests and calls; to show the emotional reaction of the

group, to influence the office with a storm of protest. This is because, right after the

charged comments, he immediately started talking about protests, mirroring the same

language, saying “If you don’t got the stomach for this, bail out. Everybody that can’t

make it to the protests in the future, I would like you to call this number.” 12:39.

      Additionally, the clip from Boyz in the Hood did not convert Mr. Gunn’s

comments into a true threat. The movie clip shows four people driving in a car, one

who has a gun, one who has a pacifier in his mouth, and a third person who asks to

be “let out.” The car stops, one person is let out, and the clip ends with him walking
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on the street. Nothing violent occurs during the movie clip and, especially in context,

it is not threatening. Directly before the movie clip, Mr. Gunn says if you do not have

the “stomach” for what he was proposing, to “bail out.” Directly after the movie clip,

he repeats that phrase, saying that “a lot of our protests in the future will be held right

outside of” the USAO’s office, adding again “if you don’t got the stomach for this,

bail out.”

       No “ordinary, reasonable recipient who is familiar with the context of the

[communication] would interpret it as a threat of injury.” Turner, 720 F.3d at 420 (2d

Cir 2013). This conclusion is especially true as the government – the same office that

is the alleged victim of the communication – did not “receive” this communication

until many months after it was made. No ordinary, reasonable person would interpret

a nine-month old remark that they would be “stormed” as a threat, when absolutely

nothing had happened since the comment was made suggesting that it was.

       Because Mr. Gunn’s remarks were protected First Amendment speech, the

indictment against him must be dismissed.




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                                             Point II

                The case should also be dismissed because the
                charged conduct does not meet the statutory elements
                as it fails to allege that Mr. Gunn had the required
                mental state and saying that “we’re going to storm”
                people is not a “threat to injure.”

         The charged conduct also does not meet the elements of the statute as a matter

of law for two reasons. First, the statute Mr. Gunn is charged with violating, 18 U.S.C.

§ 875(c), requires that the government prove that the speaker had a mental state such

that he knew that the communication would be viewed as a threat. See Elonis v. United

States, 575 U.S. 723, 740 (2015) (“The jury was instructed that the Government need

prove only that a reasonable person would regard Elonis’s communications as threats,

and that was error.”). As the Supreme Court described it, “wrongdoing must be

conscious to be criminal.” Id. 575 U.S. at 740 (citation omitted); see also id (“the mental

state requirement in Section 875(c) is satisfied if the defendant transmits a

communication for the purpose of issuing a threat, or with knowledge that the

communication will be viewed as a threat.”). Accord United States v. McCain, 2023 WL

2335332, at *5 (2d Cir. Mar. 3, 2023) (noting that “the Supreme Court articulated a

subjective element: a defendant must also have transmitted the communication ‘for

the purpose of issuing a threat, or with knowledge that the communication will be

viewed as a threat’”) (citing Elonis).5


5
 Elonis did not decide what level of intent is enough and whether a reckless state of mind would be
sufficient. 575 U.S. at 470. The Supreme Court may answer this question in a pending case,
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       Here, there is no evidence that Mr. Gunn intended to threaten the prosecutors:

he did not send them his video, but only posted it publicly; the video was not directed

to their attention at all and there is no indication the prosecutors saw it at any time

close to the time it was posted; he did not take any action after making it that

indicated he intended to harm them. Instead, Mr. Gunn did nothing to the

prosecutors or their office in New York in the nine months between posting the

video and being arrested in Illinois. On the contrary, the evidence shows that Mr.

Gunn intended to rally people to protest how the R. Kelly case was being prosecuted,

by picketing, calling the office, and signing petitions.

       Second, section 875 (c) criminalizes threats to “injure the person of another.”

The charged remarks, however, did not threaten to injure anyone. Even divorced

from the context that explains the goal of protesting, the vague remark that “we’re

going to storm” people is not a threat to injure someone. A review of successful

prosecutions in the Second Circuit under Section 875(c) illustrates how different Mr.

Gunn’s remarks are from those that are threats to injure someone. These cases all

involve language that unequivocally threatens physical harm, such as “I will kill” you.

E.g., McCain, 2023 WL 2335332, at *5 (upholding Section 875(c) conviction based,

inter alia, on text messages to victim stating: “i play with guns,” “i will blow your

fucking head off”: “I will kill your daughter”” “i hit you where it hurts”); United States




Counterman v. Colorado, Dk No. 22-138 (argument scheduled for April 19, 2023).
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v. Smith, 2023 WL 1126789, at *1 (2d Cir. Jan. 31, 2023) (guilty plea when person, inter

alia, called prosecutor and said: “I just want to tell you, you are about to die ... that

little girl in the background [Doe’s five-year-old daughter] is going to watch you die.”);

United States v. Vaughan, 2022 WL 4361108, at *1 (2d Cir. Sept. 21, 2022) (guilty plea to

875(c) based on messages sent to “high school classmates threatening a school

shooting”); United States v. Jordan, 639 F. App’x 768, 770 (2d Cir. 2016) (threats

included telling “the victim via telephone that he would kill her and ‘take her off the

planet’”); United States v. Choudhry, 649 F. App’x 60, 63 (2d Cir. 2016) (“I’m going to

kill their whole family.... I will keep shooting at them... I will kill myself and also make

sure I kill all of them,” “If you don’t come back, I will kill each and every one of

them. I will go to jail,” and explained, “we had to threaten them…to have them bring

you back.”); United States v. Berndt, 127 F.3d 251, 253 (2d Cir. 1997) (guilty plea to

Section 875(c) when person “threatened to rape and kill” ex-girlfriend, including

saying that he would “come and [ ] kill her”).

       The district court cases in our circuit relating to Section 875(c) are similar: the

language used by the defendant unambiguously threatened physical harm. E.g., United

States v. Wallace, No. 2022 WL 3141759, at *1 (N.D.N.Y. May 31, 2022) (“voice

message wherein she threatened to shoot him in the head, kill him, and rape him”);

United States v. Feeney, No. 20-CR-541 (WFK), 2022 WL 580955, at *3 (E.D.N.Y. Feb.

25, 2022) (guilty plea to 875(c) based on voicemail advising “Individual #1 to tell John

Doe to hire security because ‘we know where every one of his family members live,’
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and ‘we will execute that n****r’s family. They will be hunted down and f**king

beaten to death.’”); United States v. Telfair, No. 19-CR-270, 2020 WL 550646, at *1

(E.D.N.Y. Feb. 3, 2020) (rejecting First Amendment motion to dismiss based on

statements that person was “gonna die” and, “Fuck your kids, bitch. They can die too.

Die, kids, die.”); United States v. Waldman, No. 18-MJ-4701 (SN), 2018 WL 2932729, at

*1 (S.D.N.Y. June 12, 2018) (hundreds of emails and texts sent to ex-partner,

including saying that, “you are rare. and valuable. and something to be kept and

cherished. and cherished can mean held hostage and bound and gagged inside my

apartment.”); United States v. Mundle, 2016 WL 1071035, at *2 (S.D.N.Y. Mar. 17,

2016) (person showed “his mother a gun [ ] in the waistband of his pants; threatened

to kill his mother … [and] sister, [and mother’s husband]”); United States v. Li, 537 F.

Supp. 2d 431, 433 (N.D.N.Y. 2008) (repeated emails to people saying variations of

“you will die”); United States v. Veliz, No. 03 CR. 1473 (GEL), 2004 WL 964005, at *1

(S.D.N.Y. May 5, 2004) (saying “they’ll get [him] and cut [him] up” “because blabbers

get killed.”); United States v. Francis, 164 F.3d 120, 121 (2d Cir. 1999) (threats to “blow

the victim’s head off, cut the victim up into a thousand tiny pieces, slit the victim’s

throat, and kill the victim”); United States v. Sovie, 122 F.3d 122, 124 (2d Cir. 1997)

(“I’m gonna kill you” and “I’ll pound you right to fuckin’ death”). 6


6
  Almost all of these cases also involved threats made directly to the victim; only three involved
threats posted in a more public forum. Each of those cases still involved explicit threats of violence
against someone. United States v. Mara, 2021 WL 8200597, at *1 (W.D.N.Y. Apr. 19, 2021) (facebook
live post that said, inter alia, “They will act off impulse and they will try to kill us, when they do that.
Then they will all die. We will kill them all. I will personally kill [Victim 1].” ); United States v. Spear,
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        Mr. Gunn’s remarks simply were not threats to injure. He did not say he would

kill someone, rape someone, cut someone up, or hurt anyone; he said nothing close to

these types of explicitly threatening remarks. Accepting all of the government’s facts

as true, those facts are insufficient as a matter of law to convict Mr. Gunn and his

charge, therefore, should be dismissed.

                                           *       *       *

        Whether the facts are insufficient as a matter of law to satisfy the elements of

the charged crimes is a question that this court can and should answer. See, e.g., Watts

v. United States, 394 U.S. 705, 708 (1969) (reversing jury conviction, finding lower court

should have dismissed case as a matter of law because the “only offense here was ‘a

kind of very crude offensive method of stating a political opposition to the

President’” that “[t]aken in context” was not a crime); United States v. Stock, 728 F.3d

287, 298 (3d Cir. 2013) (“we reaffirm that a court may properly dismiss an indictment

as a matter of law if it concludes that no reasonable jury could find that the alleged

communication constitutes a threat or a true threat”); United States v. Alkhabaz, 104

F.3d 1492, 1493 (6th Cir. 1997) (analyzing threats and affirming district court’s

conclusion as a “matter of law” that the “indictment failed” “to allege violations of

Section 875(c)”).


2021 WL 794784, at *1 (D. Vt. Mar. 2, 2021) (comment on YouTube post: “fuck you scum bag im
going to set your family on fire and rape your dog” and “ill hunt you down and skin you alive u have
1 week before I kill you and your entire family”); United States v. Jordan, 2017 WL 9516819, at *1
(W.D.N.Y. July 14, 2017) (facebook post available to friends titled, “Let’s Start Killin Police Lets See
How Dey Like It”).
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                                    Conclusion

      Because Mr. Gunn’s remarks were protected First Amendment speech and they

do not meet the elements of Section 875(c), this Court should dismiss the indictment

against him.

                                                    Respectfully Submitted,

                                                           /s/
                                                    Allegra Glashausser
                                                    Assistant Federal Defenders
                                                    March 9, 2023




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